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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                WESTERN DISTRICT OF LOUISIANA, MONROE DIVISION

   PHILLIP CALLAIS, LLOYD PRICE,
   BRUCE ODELL, ELIZABETH ERSOFF,
   ALBERT CAISSIE, DANIEL WEIR,
   JOYCE LACOUR, CANDY CARROLL
   PEAVY, TANYA WHITNEY, MIKE
   JOHNSON, GROVER JOSEPH REES,
   ROLFE MCCOLLISTER,                              Civil Action No. 3:24-cv-00122

                         Plaintiffs,               Judge David C. Joseph

                        v.                         Circuit Judge Carl E. Stewart

   NANCY LANDRY, in her official capacity          Judge Robert R. Summerhays
   as Secretary of State for Louisiana,

                         Defendant.




                                             ORDER


         IT IS ORDERED that Victoria Wenger be and is hereby admitted to the bar of this Court

  pro hac vice on behalf of the proposed Intervenor-Defendants in the above-described action.

         SO ORDERED on this, the           day of February, 2024.




                                                               U.S. Magistrate Judge
